                                                                 Case 1:22-cv-07875-LGS Document 7 Filed 11/10/22 Page 1 of 1
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.                                                            1:22-CV-07875-LGS

                                                                                                  PROOF OF SERVICE
                                              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


   This summons for Everyday Health, Inc. d/b/a BabyCenter, LLC
 was recieved by me on 10/27/2022:

                                       I personally served the summons on the individual at (place) on (date) ; or


                                    I left the summons at the individual’s residence or usual place of abode with (name) , a person of suitable age and
                                    discretion who resides there, on , and mailed a copy to the individual’s last known address; or


                                    I served the summons on Person Authorized To Accept Service , who is designated by law to accept service of
          X
                                    process on behalf of Everyday Health, Inc. d/b/a BabyCenter, LLC10/28/2022; or


                                       I returned the summons unexecuted because ; or

                                    Other (specify)




          My fees are $ 0 for travel and $ 75.00 for services, for a total of $ 75.00.


          I declare under penalty of perjury that this information is true.

                                                                                                            {{t:s;r:y;o:"Signer";w:250;h:45;}}




Date:   10/28/2022
        {{t:t;r:y;o:"Signer";l:"Date";w:70;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}




                                                                                                                                                  Server's signature



                                                                                                                                                 Francisco Cruz
                                                                                                                                                 Printed name and title



                                                                                                            12 Crestwood CT
                                                                                                            Albany, NY 12208


                                                                                                                                                   Server's address




           Additional information regarding attempted service, etc:

           I delivered the documents to Person Authorized To Accept Service who indicated they were the person authorized to
           accept with identity confirmed by subject saying yes when named. The individual accepted service with direct
           delivery. The individual appeared to be a black-haired white female contact 45-55 years of age, 5'6"-5'8" tall and
           weighing 200-240 lbs.




                                                                                                                                                               Tracking #: 0095733978
